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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

Fairly Odd Treasures, LLC                        )
                                                 )
v.                                               )      Case No. 1:18-cv- 7719
                                                 )
THE PARTNERSHIPS and                             )      Judge: Rebecca R. Pallmeyer
UNINCORPORATED ASSOCIATIONS                      )
IDENTIFIED ON SCHEDULE “A,”                      )      Magistrate: Susan E. Cox
                                                 )
                                                 )
                                                 )


                                          Voluntary Dismissal

            Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Fairly Odd Treasures, voluntarily

dismiss any and all claims against defendants without prejudice:

 Doe        Merchant Name                                                   Merchant ID
     15     Laz Tipa                                                        A1JNWPUU06OJOA
     22     QIUsujing                                                       A3UH6UZACX29NN
     26     STORE★HOMER                                                     A30HQQH8GIEL7E
     28     Tpingfe                                                         A1CMB1SPFYLUNK

Dated: June 3, 2019
                                                 Respectfully submitted,


                                                 By:      s/David Gulbransen/
                                                        David Gulbransen
                                                        Attorney of Record

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